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             EXHIBIT 16
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                                                                       Page 183
                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK
                 MASTER DOCKET 18-MD-2865(LAK)
                     CASE NO. 18-CV-09797

_______________________________________
                                       )
IN RE:                                 )
                                       )
CUSTOMS AND TAX ADMINISTRATION OF      )
THE KINGDOM OF DENMARK                 )
(SKATTEFORVALTNINGEN) TAX REFUND       )
SCHEME LITIGATION                      )
                                       )
_______________________________________)




        ************************************
        *                                  *
        *           CONFIDENTIAL           *
        *                                  *
        ************************************



   REMOTE VTC VIDEOTAPED DEPOSITION UNDER ORAL
                  EXAMINATION OF
          CHRISTIAN EKSTRAND - VOLUME II
                 DATE: May 7, 2021




  REPORTED BY:     CHARLENE FRIEDMAN, CCR, RPR, CRR



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                                                                                                     2 (Pages 184 to 187)
                                                    Page 184                                                          Page 185
 1                                                               1   A P P E A R A N C E S:
                                                                 2
 2                                                                   HUGHES, HUBBARD & REED
 3                                                               3   One Battery Park Plaza
                                                                     New York, NY 10004
 4                                                               4   BY:   NEIL OXFORD, ESQ.
 5                                                                         BILL MAGUIRE, ESQ.
                                                                 5         MARC A. WEINSTEIN, ESQ.
 6                 TRANSCRIPT of the videotaped deposition of              BRITTANY LLEWELLYN, ESQ.
 7   the witness, called for Oral Examination in the             6         Via VTC
                                                                     Attorneys for SKAT
 8   above-captioned matter, said deposition being taken by      7
 9   and before MICHAEL FRIEDMAN, a Notary Public and            8   HANAMIRIAN LAW FIRM
                                                                     40 E. Main Street
10   Certified Court Reporter of the State of New Jersey, via    9   Moorestown, NJ 08057
                                                                     BY:   JOHN M. HANAMIRIAN, ESQ.
11   WEBEX, ALL PARTIES REMOTE, on May 7, 2021, commencing at   10         ELZA GRIGORYAN
12   approximately 6:01 in the morning, EST, and 11:27 a.m.,               Via VTC
                                                                11   Attorneys for Acorn Capital
13   Denmark time.                                              12
14                                                                   CAPLIN & DRYSDALE
                                                                13   600 Lexington Avenue
15                                                                   New York, NY 10022
16                                                              14   BY:   MARK ALLISON, ESQ.
                                                                           Via VTC
17                                                              15   Attorneys for Klugman
18                                                              16
                                                                17   KAPLAN RICE
19                                                                   142 West 57th Street
20                                                              18   New York, NY 10019
                                                                     BY:   MICHELLE RICE, ESQ.
21                                                              19         Via VTC
                                                                     Attorneys for Albedo, et al
22                                                              20
23                                                              21
                                                                22
24                                                              23
25                                                              24
                                                                25


                                                    Page 186                                                          Page 187
 1   A P P E A R A N C E S:                                      1   A P P E A R A N C E S:
 2                                                               2
     KOSTELANETZ & FINK                                              WILMER HALE
 3   250 Greenwich Street                                        3   7 World Trade Center - 250 Greenwich Street
                                                                     New York, NY 10007
     New York, NY 10007                                          4   BY: ALAN SCHOENFELD, ESQ.
 4   BY:   NICHOLAS H. BAHNSEN, ESQ.                                       CARY GLYNN, ESQ.
           CAROLINE CIRAOLO, ESQ.                                5         JULIA C. PILCER, ESQ.
 5         SHARON MCCARTHY, ESQ.                                           RACHEL CRAFT, ESQ.
           Via VTC                                               6         ANDREW DULBERG, ESQ.
 6   Attorneys for Azalea, et al                                           Via VTC
 7                                                               7   Attorneys for Avanix, et al
     K&L GATES                                                   8
 8   One Lincoln Street                                          9
                                                                     BINDER & SCHWARTZ
     Boston, MA 02111                                           10   366 Madison Avenue
 9   BY:   JOHN GAVIN, ESQ.                                          New York, NY 10017
           BRANDON DILLMAN, ESQ.                                11   BY: NEIL S. BINDER, ESQ.
10         ANNA E. L'HOMMEDIEU, ESQ.                                       GREGORY C. PRUDEN, ESQ.
           Via VTC                                              12         Via VTC
11   Attorneys for Alexander Jamie Mitchell, et al                   ATTORNEYS for ED&F Man
12                                                              13
13   GUSRAE, KAPLAN & NUSBAUM                                   14   DEWEY, PEGNO & KRAMARSKY
                                                                     777 Third Avenue
     120 Wall Street                                            15   New York, NY 10017
14   New York, NY 10005                                              BY: SEAN MULLEN, ESQ.
     BY:   KARI PARKS, ESQ.                                     16         Via VTC
15         Via VTC                                                   Attorneys for Michael Ben-Jacob
     Attorneys for Goldstein                                    17
16                                                              18   WILLIAMS & CONNOLLY
17                                                                   725 12th STREET, NW
18                                                              19   Washington, DC 20005
19                                                                   BY: AMY B. MCKINLAY, ESQ.
                                                                20         STEPHEN D. ANDREWS, ESQ.
20                                                                         Via VTC
21                                                              21   Attorneys for Sander Gerber Pension Plan
22                                                              22
23                                                              23
24                                                              24
25                                                              25



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                                                     Page 188                                                    Page 189
1    A P P E A R A N C E S:                                     1    ALSO PRESENT:   JOSE RIVERA, Videographer
2                                                               2                    THOMAS SPILLER
3    KATTEN                                                                          ROSENBLATT LAW
     575 Madison Avenue
4    New York, NY 10022                                         3
     BY:    DAVID GOLDBERG, ESQ.                                                     ANNE CHRISTINE KJAER EGHOLM
5           MICHAEL ROSENAFT, ESQ.                              4
            Via VTC                                                                  CHRISTINE P. VINTHER
6    Attorneys for Klugman                                      5
7                                                                                    CHRISTIAN BÜLOW
     SEWARD & KISSEL
8    One Battery Park Plaza                                     6
     New York, NY 10004                                                              HELENE SCHWEIERING
9    BY:   SHREY SHARMA, ESQ.                                   7
           THOMAS R. HOOPER, ESQ.                                                    JENS KJAERGAARD
10         MARK J. HYLAND, ESQ.                                 8
           Via VTC                                                                   INGDR GREGERSEN,   Interpreter
11   Attorneys for Bernard Tew                                  9
12
     LAW OFFICES OF SHELDON S. TOLL                                                  KIRSTEN FOLLIN, Interpreter
13   2000 Town Center                                           10
     Southfield, MI 48075                                       11
14   BY:   SHELDON S. TOLL, ESQ.                                12
           Via VTC                                              13
15   Attorneys for Hoffmeister                                  14
16
     MORVILLO, ABROMOWITZ, GRAND, IASON & ANELLO                15
17   565 5th Avenue                                             16
     New York, NY 10017                                         17
18   BY:   RICHARD WEINBERG, ESQ.                               18
     Attorneys for Clove Pension Plan, Mill River               19
19   Pension Plan, Traden Investment Pension Plan               20
20
21                                                              21
22                                                              22
23                                                              23
24                                                              24
25                                                              25

                                                     Page 190                                                    Page 191
 1                        I N D E X                              1             E X H I B I T S (CONTINUED)
 2   WITNESS NAME                                   PAGE         2   EKSTRAND NO.     DESCRIPTION                  PAGE
 3   CHRISTIAN EKSTRAND                                          3   3053           SKAT_MDL_001_00349334 -         258
 4                                                                                  00349338
 5   Examination By:    Mr. Schoenfeld               195         4
 6                      Mr. Binder                   295
 7                      Mr. Weinstein                298             3004            SKAT_MDL_001_00375736 -       260
 8                      * * * * * *                              5                   00375739
 9                                                               6   3009            SKAT_MDL_001_00281103 -       263
10                     E X H I B I T S                                               00281120
11   EKSTRAND NO.        DESCRIPTION                PAGE         7
12   3062              SKAT_MDL_001_00411777 -       198             3056            SKAT_MDL_001_00439953 -       269
                       00411778                                  8                   00439957
13                                                               9   3057            SKAT_MDL_001_00432034 -       276
     3063              SKAT_MDL_001_00437466 -       201                             00432037
14                     00437468                                 10
15   3064              SKAT_MDL_001_00411550 -       206
                       00411553                                      3071            SKAT_MDL_001_00475569 -       280
16                                                              11                   00475570
     3065              SKAT_MDL_001_00405922         212        12   3075            SKAT_MDL_001_00467931 -       289
17                                                                                   00467943
     3066              SKAT_MDL_001_00404831         215        13
18                                                              14                     * * * * * *
     3067              SKAT_MDL_001_00503329 -       228        15
19                     00503333                                 16
20   3068              SKAT_MDL_001_00483489 -       229        17
                       00483491
21                                                              18
     3002              SKAT_MDL_001_00281025 -       238        19
22                     00281029                                 20
23   3052              SKAT_MDL_001_00517918 -       245        21
                       00517939                                 22
24                                                              23
     3003              SKAT_MDL_001_00281058 -       249        24
25                     00281080                                 25


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                                                 Page 192                                              Page 193
 1                               - - -                        1             THE COURT REPORTER: My name is
 2                     Deposition Support Index               2   Charlene Friedman, a Certified Shorthand
 3                               - - -                        3   Reporter. This deposition is being held via
 4                                                            4   videoconferencing equipment.
 5    Direction to Witness Not to Answer                      5             The witness and reporter are not in
 6    Page Line      Page Line      Page             Line     6   the same room. The witness will be sworn in
 7    None                                                    7   remotely pursuant to agreement of all
 8                                                            8   parties. The parties stipulate that the
 9    Request for Production of Documents                     9   testimony is being given as if the witness
10    Page Line     Page Line       Page Line                10   was sworn in person.
11    None                                                   11
12                                                           12
13    Stipulations                                           13
14    Page Line          Page    Line        Page    Line    14
15    None                                                   15
16                                                           16
17    Questions Marked                                       17
18    Page Line      Page        Line        Page    Line    18
19    None                                                   19
20                                                           20
21                                                           21
22                                                           22
23                                                           23
24                                                           24
25                                                           25

                                                 Page 194                                              Page 195
 1              VIDEO OPERATOR: We are now on                 1
 2   record. This is the continued remote video               2   CONTINUED EXAMINATION BY MR. SCHOENFELD:
 3   deposition of Christian Ekstrand.                        3         Q    Good morning, Mr. Ekstrand.
 4              Today is Friday, May 7, 2020. The             4         A    Good morning.
 5   time is now 6:01 a.m. New York time.                     5         Q    Mr. Ekstrand, do I understand
 6              We are here in the matter of In Re            6   correctly that you had no involvement with
 7   Custom and Tax Administration Kingdom of                 7   dividend withholding tax until 2015?
 8   Denmark et al. All counsel have been noted               8             MR. WEINSTEIN: Objection to form.
 9   on record.                                               9         A    Yes, I have had no dealings with
10              My name is Jose Rivera, remote               10   the dividend withholding tax until 2015 when
11   video technician on behalf of Gregory Edwards           11   I received this case.
12   LLC. At this time, will the reporter,                   12         Q    And when in 2015 did you receive
13   Charlene Friedman, on behalf of Gregory                 13   this case?
14   Edwards LLC, please re-swear in the                     14         A    That was in June 2015.
15   interpreter and the witness.                            15         Q    What were your responsibilities as
16                                                           16   of the date that you first learned about this
17   I N G D R  G R E G E R S E N,                           17   case?
18             Called as the official interpreter in         18             So what I'm asking is: What was
19   this action, was duly sworn to faithfully translate     19   your sort of general job description when you
20   the questions to the witness from English to            20   first came into this case?
21   Danish, and the answers from Danish to English.         21         A    At the time, I was project
22                                                           22   manager/investigator. So the two, project
23   C H R I S T I A N E K S T R A N D,                      23   manager and investigator, in cases regarding
24             called as a witness, having been first duly   24   economic crime, financial crime.
25   sworn according to law, testifies as follows:           25         Q    How did cases come to you in that


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                                         Page 196                                              Page 197
 1   capacity? Were they -- well, how did cases       1         A   No.
 2   come to you in that capacity?                    2         Q   Who did you directly report into?
 3         A   I would receive or we would receive    3         A   Into my department manager, Lill
 4   these cases in a number of different ways.       4   Drost.
 5   They could come from other departments in the    5         Q   Okay. So what is the first you
 6   tax administration.                              6   learn about this issue in June of 2015?
 7             We could pick up cases on our own      7         A   We had a meeting at the time that
 8   initiative in case we had seen things where      8   we --
 9   we thought there was something to                9             MR. SCHOENFELD: I'm sorry. Can we
10   investigate. We would receive cases from        10   pause you, Ms. Gregersen? We're having
11   private individuals, from businesses and        11   trouble hearing you. It's breaking up on
12   companies, or from other authorities as         12   your end.
13   a -- where they filed a report on something.    13         A   We had a meeting at the time for
14         Q   And within the office where you       14   the whole Special Control department or
15   worked, how many project managers were there?   15   function. I'm not quite sure whether it was
16         A   At the time, we were -- at that       16   called Special Control at the time, but that
17   time, we were two in the department; one        17   was it.
18   covering eastern Denmark, which was me, and     18             It was a kind of a theme or topic
19   one covering western Denmark.                   19   they -- at the meeting, I was contacted by
20         Q   Who was covering western Denmark?     20   our deputy director at the time, Ann
21         A   Her name was Line Haslev. It's        21   Munksgaard, who had received reports through
22   L-I-N-E, and then Haslev, H-A-S-L-E-V.          22   a Danish lawyer who, on behalf of a client,
23         Q   Did you have any employees            23   had reported that somebody or somebodies was
24   reporting directly into you at this point in    24   defrauding Denmark with respect to dividend
25   time?                                           25   tax.

                                         Page 198                                              Page 199
 1             Ann passed on this information to      1             Do you see that?
 2   me and asked me to look into the matter.         2         A   Yes.
 3         Q   Do you know why the -- the tipster     3         Q   Did Ms. Munksgaard inform you what
 4   reached out to Ann Munksgaard?                   4   the telephone conversation she had with
 5         A   Because she was -- Ann Munksgaard      5   Mr. Amstrup was?
 6   was the deputy director of the department        6         A   He only told me that he'd had the
 7   handling financial crime at the time.            7   telephone conversation and that he would
 8         Q   Did she have a relationship with       8   submit some information on the -- on the
 9   the lawyer who sent in the tip?                  9   issue, I would say.
10             MR. WEINSTEIN: Objection.             10         Q   The letter mentions or the e-mail
11         A   I wouldn't imagine so, but I don't    11   mentions that the fraud allegedly consists of
12   know.                                           12   borrowed shares circulating between a number
13         Q   Let's take a look at Exhibit 3062.    13   of companies.
14             MR. WEINSTEIN: Can you say the        14             Did that mean anything to you at
15   exhibit number again, Alan?                     15   that time? Did you have any understanding of
16             MR. SCHOENFELD: 3062.                 16   what that was referring to?
17             (Above-mentioned document for         17             MR. WEINSTEIN: Objection to form.
18   Identification.)                                18         A   Yes. As I read the e-mail, I do
19         Q   Do you have the document in front     19   understand that it concerns shares that
20   of you?                                         20   people do not own but that they've borrowed
21         A   Yes, we have the document in front    21   them.
22   of us.                                          22         Q   And you understood that this issue
23         Q   Okay. The e-mail from Mr. Amstrup     23   of borrowed shares had something to do with
24   to Ms. Munksgaard refers to a telephone         24   alleged tax fraud, correct?
25   conversation they had just had.                 25             MR. WEINSTEIN: Objection to form.


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                                         Page 200                                              Page 201
 1        A    Well, I read the information that's    1   and the lawyer at that time promised us more
 2   in the e-mail and I understand what the issue    2   information, so we await that information.
 3   is, yes, you can say that, but I did not know    3        Q    And does the lawyer follow up with
 4   the specific legal basis at the time.            4   additional information?
 5        Q    And lower down in the e-mail, it       5        A    Yes, she did. She did.
 6   mentions a group of reclaim companies that       6        Q    If you flip to Exhibit 3063?
 7   are alleged to have participated in the          7             (Above-mentioned document marked
 8   fraud. You see Goal Taxback and others.          8   for Identification.)
 9             Do you see that?                       9        Q    If you look in the middle of the
10        A    Yes.                                  10   second page, there's a response from Ann
11        Q    Did you do anything with this         11   Munksgaard to Michael Amstrup.
12   information, the list of potentially involved   12             Do you see that?
13   entities, when you received this e-mail?        13        A    Yes.
14        A    Yes. The first thing is, what we      14        Q    So, on June 16th, she tells Michael
15   normally do is, when we find out this           15   Amstrup, "We're looking into it," correct?
16   information, whether we can confirm this        16        A    Yes, it says so.
17   information or have confirmation that this      17        Q    What were you doing on the 16th to
18   information is correct.                         18   look into this alleged fraud?
19        Q    What steps did you take, if any, on   19        A    I don't remember doing anything on
20   or about June 16, 2015 to confirm whether the   20   the 16th. As Ann wrote to me, "We have to
21   information was correct?                        21   follow up and talk about this tomorrow."
22        A    So as it's stated in this e-mail,     22             So we had to -- we told them that
23   it says, "Hi, we have to follow up on this      23   we had to agree how to handle it, what to do
24   matter tomorrow."                               24   in this matter.
25             So no steps were taken on the 16th,   25        Q    Mr. Amstrup mentions in his initial

                                         Page 202                                              Page 203
 1   e-mail that he suspects the fraud to involve     1   with Mr. Amstrup at that time, and I haven't
 2   around 500 million kroner, correct?              2   had communication with him later.
 3        A    Yes, that's correct.                   3        Q     So in this letter or in this
 4        Q    Is that the largest case that was      4   e-mail, Mr. Amstrup again provides the names
 5   ever referred to you at that time in terms of    5   of the reclaim agents.
 6   the kroner value of the case?                    6        A     What e-mail are we talking about?
 7        A    Yes.                                   7        Q     The e-mail on June 17, 2015.
 8        Q    On the 17th, Mr. Amstrup e-mails       8        A     Yes.
 9   again, correct?                                  9        Q     And he provides the names of other
10        A    Yes, that's correct.                  10   individuals and other entities potentially
11        Q    And he says -- he again mentions a    11   involved in the fraud, correct?
12   gentleman named Sanjay Shah, correct?           12        A     Yes, that's correct.
13        A    Yes, that's correct.                  13        Q     Do you do anything on the 17th of
14        Q    And he offers to provide a list of    14   June to try to learn more about these
15   companies that allegedly acted as fictitious    15   entities or individuals?
16   owners of the shares, correct?                  16        A     I don't remember particularly doing
17        A    Yes.                                  17   anything on the 17th. But in the days after,
18        Q    Do you know whether Ms. Munksgaard    18   we started looking into this matter to see
19   ever requested that information?                19   what was on it. We didn't have a case at
20        A    I don't think she actually asked      20   that time.
21   for the information, but he sends that          21             We had received a lot of
22   information.                                    22   information that we had to try to verify
23        Q    Did you have any direct               23   whether it was correct or not, whether it's
24   communications with Mr. Amstrup at this time?   24   the substance in what was reported or -- and
25        A    I did not have any communication      25   whether it can form the basis for starting a


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 1   case altogether, starting up a case.              1   any, on June 17th or the days after to learn
 2        Q     Do you -- at this point in time, do    2   more about the people or entities mentioned
 3   you have any understanding of where within        3   in Mr. Amstrup's e-mail?
 4   SKAT the dividend withholding tax processing      4        A    In SKAT, we have several different
 5   unit lies?                                        5   case and recording filing systems. And the
 6              MR. WEINSTEIN: Objection to form.      6   procedure we normally follow, irrespective of
 7        A     No, at the time, I didn't know         7   the nature, we do searches in these systems
 8   precisely which department holds dividend         8   to see if we can find any information on the
 9   withholding tax reclaims.                         9   issue or the parties involved.
10        Q     And at some point did you learn it    10        Q    What are the systems called?
11   was Accounting 2?                                11        A    "Work Zone" is one and "Tax
12        A     Yes. In connection with my            12   Assessment," "Skattvurdering," which means
13   investigation, I found out how this is           13   "tax assessment." So the system is called
14   processed. And we have a list of tasks for       14   "Tax Assessment," if we translate the
15   that purpose where you can look at the tasks,    15   department name or the system name.
16   the handle in the Tax Administration, all        16             So "Work Zone" and "Tax
17   together.                                        17   Assessment."
18              I do that and I find a person's       18        Q    What sort of information is
19   name, Sven Neilsen. So I sent him an e-mail      19   included in Tax Assessment?
20   and tell him that I need some information.       20        A    Tax assessment information on
21        Q     Do you recall when you e-mailed       21   individuals. And it's the same information,
22   Sven Neilsen?                                    22   but primarily for foreign instances.
23        A     I'm not quite certain, but I think    23        Q    Any other systems you consulted?
24   it's the 24th June.                              24        A    Well, there's a planning system,
25        Q     Okay. What steps do you take, if      25   but we do a normal Google search to find out

                                          Page 206                                              Page 207
 1   if -- about companies or individuals, or          1   correctly in the system and recorded,
 2   other parties mentioned in this report that       2   Search and Control would have been the right
 3   was filed.                                        3   place to make this phone call to.
 4        Q     If you look at Exhibit 3064?           4        Q     Is Search and Control a team or a
 5              (Above-mentioned document marked       5   unit within SKAT?
 6   for Identification.)                              6        A     Yes.
 7        Q     There's another e-mail from Michael    7        Q     And does it have access to systems
 8   Amstrup to Ann Munksgaard, and then an e-mail     8   other than Tax Assessment and Work Zone to
 9   from Ann Munksgaard to you. And she mentions      9   identify information about individuals or
10   that she's spoken to Search and Control.         10   companies?
11              Do you see that?                      11        A     To my knowledge, they have access
12        A     Yes.                                  12   to the same systems as I have.
13        Q     What's Search and Control?            13        Q     Do they have access to prior
14        A     Well, you can say that all reports    14   internal reports concerning issues of concern
15   that come into tax have to be filed in the       15   to SKAT?
16   correct place, and in this case, that's          16             MR. WEINSTEIN: Objection to form.
17   Search and Control.                              17        A     I don't know.
18              So the normal procedure would be      18        Q     If a SKAT employee had previously
19   that you file your report with Search and        19   indicated concerns about potential fraud
20   Control and they review the information and      20   relating to dividend withholding tax, would
21   they report and ensure that it is sent to the    21   you expect Tax Assessment, Work Zone, or
22   administrator of the project where they          22   Search and Control to have access to that
23   believe it belongs.                              23   information?
24              So here it's gone directly to a       24             MR. WEINSTEIN: Objection to form.
25   deputy director. But in order to get it          25             THE INTERPRETER: Would you please


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 1   beginning when I received this information.      1             Is that right?
 2        Q    Okay. Let's look at the next           2        A    Taastrup is where the unit dealing
 3   exhibit, which is 3067.                          3   with the dividend tax case is located.
 4             (Above-mentioned document marked       4        Q    What unit is that?
 5   for Identification.)                             5        A    This is Accounting 2.
 6        Q    Do you have that in front of you?      6        Q    Okay. So what decisions are made
 7        A    Yes.                                   7   at the August 6th meeting?
 8        Q    On August 4th, you e-mail Ann          8        A    As far as I remember, no decisions
 9   Munksgaard and you say, "There's finally a       9   were made. A communication for a decision
10   hole through to Taastrup, T-A-A-S-T-R-U-P. I    10   was made.
11   found the right people around recovery of       11             As so, far as I remember, Dorthe
12   dividend taxes."                                12   Pannerup made a recommendation to stop
13        A    Yes.                                  13   payment, and the recommendation was made to
14        Q    What did you mean, "there's finally   14   her deputy director.
15   a hole through to Taastrup?"                    15        Q    Please look at Exhibit 3068.
16        A    So as made in previous                16             (Above-mentioned document marked
17   communication, I had tried, on several          17   for Identification.)
18   occasions, to establish contact to              18        Q    You send this e-mail on August 7,
19   individuals in Taastrup. And finally, as far    19   2015 to Ann Munksgaard and Lill Drost,
20   as I remember, this was on August the 3rd, I    20   correct?
21   was able to reach the unit head in Taastrup.    21        A    Yes.
22        Q    And that's Dorthe Madsen?             22        Q    And in the second paragraph of the
23        A    Yes.                                  23   e-mail, you say, "I know this case is already
24        Q    Taastrup is the city where            24   at the deputy director level, Rene JÜrgensen.
25   Accounting 2 is located.                        25   They must take action on this payment."

                                          Page 230                                             Page 231
 1             Is that right?                         1        A    Based on the information that we
 2       A     Yes.                                   2   had received from the U.K.
 3             THE INTERPRETER: So after Rene         3        Q    And you say that "physical
 4   JÜrgensen, can you read to me again what         4   transfers of equities, securities, or
 5   you -- what your translation said?               5   payments have never been made."
 6        Q    Well, were you saying that -- were     6             Is that right?
 7   you recommending that they take action to        7        A    Yes, it is true. Because in the
 8   stop payment on dividend reclaims?               8   report it says that we're only talking about
 9        A    No, I did not, because I am not        9   a number of items listed in the books without
10   authorized to make such recommendations.        10   shares or without money.
11   That should come from Dorthe Pannerup and       11             That is what we are basing this on.
12   this is what René should decide that he wants   12        Q    Explain what you mean when you say
13   to do.                                          13   that you're "talking about a number of items
14        Q    Why did René have responsibility      14   listed in the books without shares or without
15   for making this decision?                       15   money."
16        A    Because he's head of Payment and      16        A    So what we were told is that in
17   Account is the name of Account 2 before.        17   this case there are no shares and there --
18        Q    In the paragraph starting "Vi har     18   there is no money. And when we see the case,
19   fundet," do you see the sentence beginning      19   if we see documentation, now I am, of course,
20   "Der er aldrig?"                                20   trying to interpret what I've seen.
21             Do you see that?                      21             What we were seeing was only
22        A    Yes.                                  22   bookkeeping figures on a piece of paper
23        Q    In that paragraph, you're             23   without any actual contents, which means that
24   describing your understanding of how the        24   no shares and no money were actually involved
25   fraud was conducted, correct?                   25   in it.


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 1   our first analysis with A.P. MÜeller Maersk.     1   process.
 2   A.P. M-Ü-E-L-L-E-R, and then M-A-E-R-S-K.        2        Q    So we talked earlier this morning
 3             As far as I remember, we did our       3   about the series of events in the summer of
 4   first analysis for -- on A.P. MÜeller Maersk.    4   2015 where you learned about allegations that
 5   I think that, in connection with payment         5   a fraud was being perpetrated on SKAT.
 6   of -- from 2014, I think that was over           6        A    Correct.
 7   100 percent.                                     7        Q    And so, I think where we left
 8         Q   So is that -- are you referring to     8   things was at the August 6, 2015 meeting that
 9   Exhibit 3057?                                    9   Dorthe Pannerup convened.
10         A   Yes.                                  10             Can you explain to me what happened
11             (Above-mentioned document marked      11   after that meeting with respect to the
12   for Identification.)                            12   decision to stop paying reclaims?
13         Q   Mr. Ekstrand, the analysis that       13        A    No, I can't explain because that
14   you're performing in these documents in 2016,   14   process was out of my hands. This was solely
15   this could have been performed in 2014,         15   a process handled by Dorthe.
16   correct, based on information available to      16             My focus was on the -- was on the
17   SKAT?                                           17   fraud perpetrated.
18             MR. WEINSTEIN: Objection to the       18        Q    So explain to me how you began to
19   form.                                           19   investigate the fraud?
20         A   As I said before, in theory, you      20        A    So, after the meeting, I went with
21   can conduct these investigations. We only       21   Sven Neilsen to his office. I asked him to
22   made these investigations based on the report   22   show me system 3S.
23   we received that fraud had been going on,       23             I asked him to check -- make some
24   which, for us, was the -- was the impetus to    24   random pension plan names that I had brought
25   get started on this whole investigation         25   with me. And we discovered hits for these

                                          Page 278                                            Page 279
 1   companies, that payments had been made to        1   to the police for further investigation.
 2   these companies.                                 2         Q   And remind me, how did you assemble
 3             I asked him to find the relevant       3   the list of pension plans that you had
 4   applications. And that way, we could work        4   provided to obtain more information on?
 5   our way to locating a substantial number of      5         A   So this was a list that I had
 6   applications that had been made in connection    6   received from the U.K. authorities.
 7   with the company in question.                    7         Q   Did you do anything else with the
 8             And then a more extensive              8   list or was it just the contents of that
 9   verification process began, because by that      9   list?
10   time, we had a list of -- as far as I           10             MR. WEINSTEIN: Objection to form.
11   remember, 180 names, and lists we had           11         A   So the list contained names of
12   received from the U.K. authorities.             12   applicants. So obviously, we used the names
13             And so we did various searches with   13   to search for information.
14   these -- on these names and found various       14         Q   Did you make any effort to relate
15   material pertaining to them, in order           15   the applicants to each other, or relate them
16   to -- in order to calculate the amount that     16   to additional applicants that weren't on the
17   we had paid out to these various pension        17   list from the U.K. authorities?
18   plans.                                          18             MR. WEINSTEIN: Objection to form.
19        Q    Did you make any factual              19         A   So we have made reporting on this
20   determinations as to how these pension plans    20   case on three occasions to the police. The
21   had perpetrated the fraud on SKAT?              21   first report we made to the police is placed
22        A    So, no. What this was about was       22   with the 180-odd names of companies.
23   establishing the amount in total that had       23             And based on that, we, of course,
24   been paid out, and to collect the relevant      24   expanded outside parameters to see if there
25   material supporting this, and send everything   25   were any more similar cases, whether there


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                                         Page 300                                                   Page 301
 1        A    Yes, it was.                           1   a working group that was set up after the
 2        Q    Okay. You can put that aside.          2   SIR 2010 report was issued.
 3             You testified about a meeting that     3         A   Yes.
 4   you attended on 6th of August, 2015 with         4         Q   Is this memo at Page 291 a memo of
 5   Dorthe Pannerup and others.                      5   the working group dated June 8th of 2011?
 6        A    Correct.                               6         A   Correct.
 7        Q    At that meeting, there was             7         Q   It discusses the work of the
 8   discussion about stopping refund payments.       8   working group?
 9             Is that right?                         9         A   Correct.
10        A    Correct.                              10         Q   I'm going to have you turn now to
11        Q    You mentioned that it was not the     11   Exhibit 3009. This is the ER2013 report we
12   ultimate decision whether SKAT could stop       12   looked at earlier today.
13   payments.                                       13         A   Yes.
14             Is that right?                        14         Q   If you turn to Section 3.8, does
15        A    Correct.                              15   that section identify action steps that SKAT
16        Q    Did SKAT stop making refund           16   took in response to the SIR 2002 audit
17   payments after that meeting?                    17   report?
18        A    They did, yes.                        18         A   Yes.
19        Q    Did it stop the payments the same     19             MR. WEINSTEIN: We have no further
20   day as the meeting took place?                  20   questions, Mr. Ekstrand.
21        A    Yes.                                  21             MR. SCHOENFELD: Nothing further
22        Q    I want to ask you to turn to          22   here.
23   Page 291 of the 30(b)(6) document bundle that   23             VIDEO OPERATOR: Please stand by.
24   you have.                                       24   The time is 11:27 a.m. New York time and
25             You were asked earlier today about    25   we're going off the record.

                                         Page 302                                                   Page 303
 1             (Whereupon, the deposition was         1                  C E R T I F I C A T E
 2   concluded at 11:27 a.m.)                         2             I, CHARLENE FRIEDMAN, a Certified Court
 3             (Witness was excused.)                 3   Reporter and Notary Public, qualified in and for
 4             THE COURT REPORTER: Just recapping     4   the State of New Jersey do hereby certify that
 5   orders, Hughes Hubbard, two realtime hookups,    5   prior to the commencement of the examination
 6   rough draft, two-day final.                      6   CHRISTIAN EKSTRAND was duly sworn by me to testify
 7             Hanamirian, standard delivery copy.    7   to the truth the whole truth and nothing but the
 8             Kostelanetz, standard delivery         8   truth.
 9   copy, plus one realtime hookup.                  9             I DO FURTHER CERTIFY that the foregoing
10             K&L Gates, rough draft, standard      10   is a true and accurate transcript of the testimony
11   delivery copy, plus one realtime hookup.        11   as taken stenographically by and before me at the
12             Wilmer Hale, five realtime hookups,   12   time, place and on the date hereinbefore set forth.
13   rough draft, standard delivery copy.            13             I DO FURTHER certify that I am neither a
14             Binder & Schwartz, one realtime       14   relative of nor employee nor attorney nor counsel
15   hookup, rough draft, standard delivery copy.    15   for any of the parties to this action, and that I
16             Dewey Pegno, rough draft, standard    16   am neither a relative nor employee of such attorney
17   delivery copy.                                  17   or counsel, and that I am not financially
18                                                   18   interested in the action.
19                                                   19
20                                                   20
21                                                   21                ____________________________
22                                                   22                CHARLENE FRIEDMAN, RPR, CRR, CCR of the
23                                                   23                State of New Jersey
24                                                   24                License No: 30XI00204900
25                                                   25                Date: May 7, 2021



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 1                  LAWYER'S NOTES                        1                DEPOSITION ERRATA SHEET
 2   PAGE   LINE                                          2
 3   ____   ____   ___________________________________    3         DECLARATION UNDER PENALTY OF PERJURY
 4   ____   ____   ___________________________________    4            I declare under penalty of perjury
 5   ____   ____   ___________________________________    5      that I have read the entire transcript of
 6   ____   ____   ___________________________________    6      my Deposition taken in the captioned matter
 7   ____   ____   ___________________________________    7      or the same has been read to me, and
 8   ____   ____   ___________________________________    8      the same is true and accurate, save and
 9   ____   ____   ___________________________________    9      except for changes and/or corrections, if
10   ____   ____   ___________________________________   10      any, as indicated by me on the DEPOSITION
11   ____   ____   ___________________________________   11      ERRATA SHEET hereof, with the understanding
12   ____   ____   ___________________________________   12      that I offer these changes as if still under
13   ____   ____   ___________________________________   13      oath.
14   ____   ____   ___________________________________   14
15   ____   ____   ___________________________________   15
16   ____   ____   ___________________________________   16
17   ____   ____   ___________________________________   17             Signed on the _______ day of
18   ____   ____   ___________________________________   18               ________________, 20____
19   ____   ____   ___________________________________   19
20   ____   ____   ___________________________________   20           ___________________________________
21   ____   ____   ___________________________________   21                  CHRISTIAN EKSTRAND
22   ____   ____   ___________________________________   22
23   ____   ____   ___________________________________   23
24   ____   ____   ___________________________________   24
25   ____   ____   ___________________________________   25


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 1                 DEPOSITION ERRATA SHEET                1                 DEPOSITION ERRATA SHEET
 2   Page No._____Line No._____Change to:__________       2   Page No._____Line No._____Change to:__________
 3   ______________________________________________       3   ______________________________________________
 4   Reason for change:____________________________       4   Reason for change:____________________________
 5   Page No._____Line No._____Change to:__________       5   Page No._____Line No._____Change to:__________
 6   ______________________________________________       6   ______________________________________________
 7   Reason for change:____________________________       7   Reason for change:____________________________
 8   Page No._____Line No._____Change to:__________       8   Page No._____Line No._____Change to:__________
 9   ______________________________________________       9   ______________________________________________
10   Reason for change:____________________________      10   Reason for change:____________________________
11   Page No._____Line No._____Change to:__________      11   Page No._____Line No._____Change to:__________
12   ______________________________________________      12   ______________________________________________
13   Reason for change:____________________________      13   Reason for change:____________________________
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23                                                       23
24   SIGNATURE:__________________DATE:_____________      24   SIGNATURE:__________________DATE:_____________
25             CHRISTIAN EKSTRAND                        25             CHRISTIAN EKSTRAND


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